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    Nexus Services Inc.
    Balance Sheet
    As of December 31, 2021

                                                Total
    ASSETS
     Current Assets
      Bank Accounts
        0006 -1st Bank Operating                 1,392.81
        0097 - Woodforest - Operating                0.00
        0105 - Woodforest - Deposit                  0.00
        0290 - Suntrust - Libre Operating            0.00
        0382 - Great Western - Operating             0.00
        0440 - Suntrust - Libre Deposit              0.00
        0593 - Bancorp - Operating                   0.00
        0726 - Synovus - Deposit                   770.09
        0734 - Synovus - Operating               1,220.81
        0809 - Great Western - Deposit               0.00
        1681 - Bank of Texas - Deposit               0.00
        1692 - Bank of Texas - Oper                  0.00
        2175 - TCF - Operating                   2,050.68
        2176 - TCF - Deposit                       111 .20
        2355 - M & T - Program/Payroll Acct          0.00
        2363 - M & T - Operating                     0.00
        2371 - M & T - Expense                       0.00
        2474 - BB&T Libre Holding_                 -55.00
        2482 - BB&T Libre Operating                -19.05
        2620 - GAMER OASIS, LLC (SUMMIT BANK)      365 .96
        2650 - 513rd Bank - Deposit                  0.00
        2668 - 513rd Bank - Operating                0.00
        2695 - SUMMIT (GAMER OASIS, LLC)         8,246.11
        2702 - Citibank - Libre - Operating          0.00
        2710 - Citibank - Deposit                    0.00
        2775 - Ozarks - Operating                    0.00
        2783 - Ozarks - Deposit                      0.00
        3122 - Key Bank - Operating                  0.00
                                                                                                           PLAINTIFPS
                                                                                                                IBrT
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3130 • Key Bank • Deposit Acct                         0.00
3177 - TD Bank - Operating                             0.00
3185 - TD Bank • Deposit                               0.00
3797 - City - Properties - Oper                        0.00
3805 - City - Commercial - Operating                   0.00
3813 - City - Caridades Operating                      0.00
3821 - City - Caridades Payroll                        0.00
4167 - City - Investigations                           0.00
4175 - City - One Fish, Two Fish                       0.00
4369 - BOA - Nexus Libre                               0.00
4569 - Academy - Operating                             0.00
4580 - Academy - Deposit                               0.00
4749 - Bank of the West - Libre Deposit                0.00
4756 - Bank of the West - Libre Operating              0.00
4787 • City - Services Operating                       0.00
4795 - City - Services Payroll                         0.00
4803 - City - Services Reserve                         0.00
4852 - City - Secure Operating                         0.00
4860 - City - Secure Expense                           0.00
4878 - City - Homes Operating                          0.00
4886 - City - Homes Reserve                      39,463.89
4894 - City - Homes Expense 4894                486 ,874 .25
4903 - BBVA Compass - Libre Operating                  0.00
5721 - BBVA Compass - Libre Deposit                    0.00
5873 - M & T - Savings                                 0.00
6198 - City - Properties - Savings                     0.50
6206 - City - One Fish - Savings                       0.00
6214 - City - Investigations/Security Savings          0.00
6219 - M & T - Savings                                 0.00
6426 - Wells Fargo - Libre                             0.00
6434 • Wells Fargo• Deposit                            0.00
6442 - Wells Fargo - Libre                             0.00
6459 - Wells Fargo - Operating                         0.00
6478 - Pendleton - Libre Exp                         100.11
6529 - M&T - Operating                                 0.00
6533 - Washington Fed - Operating                     55.02
6537 - M & T - Expense                                 0.00
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6541 - Washington Fed - Deposit         32 ,230.04
6545 • M & T • Payroll                        0.00
6552 - M & T - Security                       0.00
7160 -1st National Texas - Dep                0.00
7162 - City • Commercial • Savings            0.00
7178 - 1st National Texas • Oper              0.00
7287 - Regions - Deposit Acct                 0.00
7295 - Regions - Operating Acct               0.00
7554 - West America - Operating               0.00
7562 - West America - Deposit                 0.00
7733 - M & T - Savings                        0.00
7960 - City - Secure Reimb              34,000.00
8491 • BOA • Libre                            0.00
8501 - BOA - Homes                            0.00
8527 - BOA - Nexus Libre                      0.00
8530 - BOA - Nexus Libre                      0.00
8640 - BOA - Nexus Services                   0.00
8915 - Iberia - Deposit                       0.00
8923 - Iberia - Operating                     0.00
9906 - City - Services Savings         269 ,498.88
9914 - City - Secure Savings                  0.00
9922 - City - Libre Savings                  81 .01
9997 - 1st Bank - Deposit               -34,929.44
9998 - Brinks Travel                  -179,325.87
Bancorp Dep LINKED                     126,475.88
Bill.com Money In Clearing                   -0.51
Cash                                        600.00
Checking                                -42,500.00
Comerica 16NOV2020                        2,157.90
COMERICA DEP LINK                         3,084.00
Credit Card Payments                 4,473,724.39
First Colo LINKED 16NOV                   6,039.43
LN-BANCORP-DEPOSIT-0601               -205,989.05
LN-CITY-OPERATING-4829               -5,036,521 .81
LN -CITY-PROMISE PAY-4845              538,896.83
LN-CITY-REIMBURSEMENT-7937             825,236 .17
LN -CITY-RESERVE-4837                1,966,219.30
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  LN-COMERICA-DEPOSIT 5689                 13,259.13
  LN-COM ERICA-OPERATING-5697              15,940.00
  NL-CITY-EXPENSE-6188                   852 ,731 .26
  NS-CITY-EXPENSE-4811                   -158,419.96
  NS-CITY-EXPENSE-7853                  2,604,465.98
  NS-CITY-REIMBURSEMENT-7945            2,598,684.68
  NS-PENDLETON-OPERATING-5374             26,480.64
  Petty Cash                              21 ,700.00
   Chicago                                    130.00
   Dallas                                   2,750.00
   Hackensack                               2,300.00
   Houston                                36,485.84
   Miami                                    3,400.00
   NOHO                                   22,550.00
   Ontario                                  2,520.00
   Orlando                                    550.00
   Phoenix                                22,200.00
   San Antonio                            27,700.00
   San Diego                                1,500.00
   STC                                        150.00
   Tacoma                                   2,000.00
   Tyson's Corner                           4,550.00
   Verona                                  11 ,632.00
 Total Petty Cash                   $    162,117.84
Total Bank Accounts                 $   9,434,814.10
Accounts Receivable
 Accounts Receivable                            0.00
 Accounts Receivable - Becky N.                 0.00
 Accounts Receivable - Erik S.                  0.00
 Accounts Receivable - Evan A.                  0.00
 Accounts Receivable - Gordon T                 0.00
 Accounts Receivable - Jose                     0.00
 Accounts Receivable - Mike D.                  0.00
 Accounts Receivable - R. M.                    0.00
 Accounts Receivable - Tim 0.                   0.00
 Sergio/Briana Anselmo                          0.00
Total Accounts Receivable           $           0.00
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 Other Current Assets
   Cottonwood Escrow                                 0.00
   Countryside Escrow                                0.00
   Four Fifty-Five Escrow                            0.00
   Frankliln Root Escrow                             0.00
   Inventory Asset                               4,500.00
   Investment Escrow                                 0.00
   Jenny's Creek Escrow                              000
   Loan Payable                                  1,628.16
   Lofton Leasing Escrow                             0.00
   Middlesex County                                  0.00
   Mill Place Escrow                                 0.00
   Music Rights                                      0.00
   Paige Drive Escrow                                0.00
   Prepaid Expenses                             39,413.37
   Saint James Escrow                                0.00
   Salon Escrow                                      0.00
   Twenty Twenty Escrow                              0.00
   Uncategorized Asset                           7,261 .17
   Vehicle Deposit                                   0.00
 Total Other Current Assets             $       52,802.70
Total Current Assets                   $    9,487,616.80
Fixed Assets
 ACCUMULATED AMORTIZATION                          685 .50
 Accumulated Depreciation                   -1 ,736,336.18
 Land                                                0.00
   13 Upland Court SD                                0.00
   13 Upland Crt                                     0.00
   24 Paige Drive - Land Value                       0.00
   Land - 102 Lake Point                             0.00
   Land - 1060 Jenny's Creek                         0.00
   Land - 107 Granny Smith                           0.00
   Land - 1080 Jenny's Creek                         0.00
   Land - 110 Henry                                  0.00
   Land - 1137 Kingsway                              0.00
   Land - 117 Cedarcrest                             0.00
   Land - 13 Upland                                  0.00
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Land - 14 S. Windsong                     0.00
Land - 141 Forever Court                  0.00
Land - 143 Lofty Circle                   0.00
Land - 15 Kimberley                       0.00
Land - 17 Kimberley                       0.00
Land - 19 Brooke                          0.00
Land - 19 Kimberley                       0.00
Land -19 Rose Garden #101                 0.00
Land -19 Rose Garden #103                 0.00
Land - 2 Paige Drive                      0.00
Land - 21 Kimberley                       0.00
Land - 221 Overview                       0.00
Land - 23 Brooke Street                   0.00
Land - 23 Paige Drive                     0.00
Land - 239 Windsor                        0.00
Land - 24 Rosette #102                    0.00
Land - 24 Rosette #104                    0.00
Land - 24 Rosette #202                    0.00
Land - 24 Rosette #204                    0.00
Land - 25 Brooke St.                      0.00
Land - 260 Windsor                        0.00
Land - 268 Windsor                        0.00
Land - 3 Paige                            0.00
Land - 30 Laurel Wood                     0.00
Land - 312 Evershire                      0.00
Land - 33 S. Windsong                     0.00
Land - 37 S. Windsong                     0.00
Land - 50 Spring Ridge                    0.00
Land - 659 Claremont                      0.00
Land - 70 Spring Ridge                    0.00
Land • 8 GE 201                           0.00
Land - 8 GE 202                           0.00
Land • 8 GE 203                           0.00
Land - 8 GE 204                           0.00
Land - 8 Spring Ridge                     0.00
Land - 80 Spring Ridge                    0.00
Land - 84 Lofty Circle                    0.00
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  Land • 968 Jenny's Creek                           0.00
  Land - 984 Jenny's Creek                           0.00
  Land - Mill Place                                  0.00
  Mill Place #3                                      0.00
Total Land                                $          0.00
Machinery & Equipment
 Bobcat 5650 Skidsteer                         41 ,587 .62
   Bobcat Skidsteer                                  0.00
 Total Bobcat 5650 Skidsteer              $    41,587.62
 Entertainment Equipment                       26,749.25
 Kawasaki - 4 Wheeler Teryx ATV                17,329.50
   4-Wheeler                                         0.00
 Total Kawasaki - 4 Wheeler Teryx ATV     $    17,329.50
Total Machinery & Equipment               $    85,666.37
Office Furniture
 Cubicles                                       9,897.71
 Desk                                           4,200.00
 Furniture                                     20,040.26
Total Office Furniture                    $    34,137.97
Office Supplies - Computers                   107,089.01
 De Lage Copiers                              128,139.83
 Xerox 30PPM - MX1208696                        8,500.00
   Xerox Color 30 PPM                                0.00
 Total Xerox 30PPM - MX1208696            $     8,500.00
 Xerox Copier - AE9550261                       8,070.19
   Xerox Copier                                      0.00
 Total Xerox Copier - AE9550261           $     8,070.19
 Xerox Copier - SAE7166346                      7,505.78
   Xerox Copier - SAE7166346                         0.00
 Total Xerox Copier - SAE7166346          $     7,505.78
Total Office Supplies - Computers         $   259,304.81
Property                                             0.00
 102 Lake Pointe Rd., Pamplin, Va                    0.00
   102 Lake Pointe                                   0.00
 Total 102 Lake Pointe Rd., Pamplin, Va   $          0.00
 1060 Jenny's Creek                                  0.00
 107 Granny Smith Lane, Timberville, VA              0.00
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  107 Granny Smith Lane                            0.00
Total 107 Granny Smith Lane, Timberville, Vf. $    0.00
1080 Jenny's Creek                                 000
110 Henry Ave. , Elkton, Va                        0.00
  110 Henry Avenue                                 0.00
Total 110 Henry Ave., Elkton, Va               $   0.00
1137 Kinsgway Court, Fishersville, VA              0.00
  1137 Kingsway, Afton, VA                         0.00
Total 1137 Kinsgway Court, Fishersville, VA   $    0.00
117 Cedarcrest Dr., Waynesboro, Va                 0.00
  117 Cedarcrest Drive                             0.00
Total 117 Cedarcrest Dr., Waynesboro, Va      $    0.00
14 S. Windsong                                     0.00
141 Forever Crt., Waynesboro, Va                   0.00
  141 Forever Court                                0.00
Total 141 Forever Crt., Waynesboro, Va        $    0.00
143 Lofty Circle                                   0.00
15 Kimberley St., Staunton, Va                     0.00
 15 Kimberley Street                               0.00
Total 15 Kimberley St. , Staunton, Va         $    0.00
17 Kimberley St. , Staunton, Va                    0.00
 17 Kimberley St.                                  0.00
Total 17 Kimberley St., Staunton, Va          $    0.00
19 Brooke Street                                   0.00
19 Kimberley St., Staunton, Va                     0.00
 19 Kimberley Street                               0.00
Total 19 Kimberley St. , Staunton, Va         $    0.00
19 Rose Garden Ln #101, Fishersville, Va           0.00
 19 Rose Garden #101                               0.00
Total 19 Rose Garden Ln #101, Fishersville, \, $   0.00
19 Rose Garden Ln., #103, Fishersville, Va         0.00
 19 Rose Garden #103                               0.00
Total 19 Rose Garden Ln. , #103, Fishersville, $   0.00
2 Paige Dr. Staunton, Va                           0.00
 2 Paige Drive                                     0.00
Total 2 Paige Dr. Staunton, Va                $    0.00
21 Kimberley St.                                   0.00
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221 Overview St.                                  0.00
23 Brooke Street                                  0.00
23 Paige Dr., Staunton, Va                        0.00
 23 Paige Drive                                   0.00
Total 23 Paige Dr., Staunton, Va              $   0.00
239 Windsor                                       0.00
24 Paige Drive                                    0.00
24 Rosette Ln #102, Fishersville, Va              0.00
 24 Rosette Lane #102                             0.00
Total 24 Rosette Ln #102, Fishersville, Va    $   0.00
24 Rosette Ln #104, Flshersville, Va              0.00
 24 Rosette Lane #104                             0.00
Total 24 Rosette Ln #104, Fishersville, Va    $   0.00
24 Rosette Ln #202, Fishersville, Va              0.00
 24 Rosette Lane #202                             0.00
Total 24 Rosette Ln #202, Fishersville, Va    $   0.00
24 Rosette Ln #204, Fishersville, Va              0.00
 24 Rosette Lane #204                             0.00
Total 24 Rosette Ln #204, Fishersville, Va    $   0.00
25 Brooke Street                                  0.00
260 Windsor Drive                                 0.00
268 Windsor Dr. , Fishersville, VA                0.00
 268 Windsor Drive                                0.00
Total 268 Windsor Dr., Fishersville, VA       $   0.00
3 Paige Drive                                     0.00
30 Laurel Wood Dr. , Waynesboro, Va               0.00
 30 Laurel Wood Dr.                               0.00
Total 30 Laurel Wood Dr. , Waynesboro, Va     $   0.00
312 Evershire St.                                 0.00
33 S. Windsong Crt., Fishersville, VA             0.00
 33 S. Windsong Drive                             0.00
Total 33 S. Windsong Crt., Fishersville, VA   $   0.00
37 S. Windsong Dr., Fishersville, VA              0.00
 37 S. Windsong, Fishersville, VA                 0.00
Total 37 S. Windsong Dr., Fishersville, VA    $   0.00
50 Spring Ridge Lane, Fairfield, Va               0.00
 50 Spring Ridge Lane                             0.00
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 Total 50 Spring Ridge Lane, Fairfield, Va   $         0.00
 659 Clarmont Ave., Harrisonburg, VA                   0.00
   659 Claremont Ave, H'burg, VA                       000
 Total 659 Clarmont Ave., Harrisonburg, VA   $         0.00
 70 Spring Ridge Lane, Fairfield, Va                   0.00
   70 Spring Ridge Lane                                0.00
 Total 70 Spring Ridge Lane, Fairfield, Va   $         0.00
 8 Gables #201 - 12A                                   0.00
 8 Gables #202 - 12B                                   0.00
   8 Gables #202 - 12B -G17                            0.00
 Total 8 Gables #202 - 12B                   $         0.00
 8 Gables #203 - 120                                   0.00
   8 Gables #203 -120 - G16                            0.00
 Total 8 Gables #203 -120                    $         0.00
 8 Gables #204 - 12C                                   0.00
 8 Spring Ridge Lane, Fairfield, VA                    0.00
   8 Spring Ridge Lane                                 0.00
 Total 8 Spring Ridge Lane, Fairfield, VA    $         0.00
 80 Spring Ridge Rd., Fairfield, Va                    0.00
   80 Spring Ridge Lane                                0.00
 Total 80 Spring Ridge Rd. , Fairfield, Va   $         0.00
 84 Lofty Circle, Stuarts Draft, VA                    0.00
   84 Lofty Circle                                     0.00
 Total 84 Lofty Circle, Stuarts Draft, VA    $         0.00
 968 Jenny's Creek                                     0.00
 984 Jenny's Creek                                     0.00
 Mill Place Park Bldg 4                                0.00
 MP Commerce Park                                      0.00
Total Property                               $         0.00
Vehicles                                         124,363 .15
 2003 Jaguar X-Type                                    0.00
   2003 Jaguar X-Type                                  0.00
 Total 2003 Jaguar X-Type                    $         0.00
 2004 Dodge Ram - 0831                            22 ,543.24
 2006 Dodge Grand Caravan - 9784                       0.00
   2006 Dodge Caravan - 9784                           0.00
 Total 2006 Dodge Grand Caravan - 9784       $         0.00
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2006 Ford Mustang                                  0.00
 2006 Ford Mustang                                 0.00
Total 2006 Ford Mustang                   $        0.00
2006 Ford Truck F250 - 2864                   18,806.94
2007 Jeep Wrangler - 7378                          0.36
 2007 Jeep Wrangler 7378                           0.00
Total 2007 Jeep Wrangler - 7378           $        0.36
2008 Dodge Van - 4527                              0.00
 2008 Dodge Caravan 4527                           0.00
Total 2008 Dodge Van - 4527               $        0.00
2008 Ford F150 - 2918                         15,595.92
2011 Dodge Charger - Wh ite - 7386            15,380.07
2012 Honda Accord - Gray - 1470               15,870.27
 2012 Honda Accord -1470                           0.00
Total 2012 Honda Accord - Gray - 1470     $   15,870.27
2013 Dodge Avenger - 0731                     14,721 .85
 2013 Dodge Avenger - 0731                         0.00
Total 2013 Dodge Avenger - 0731           $   14,721 .85
2013 Dodge Charger - 6336                      5.000.00
201 3 Dodge Charger - 9857 - E.S.             27,014.64
 2013 Dodge Charger - E.S.                         0.00
Total 2013 Dodge Charger - 9857 - E.S.    $   27,014.64
2013 Dodge Charger - White - 8336             22 ,148.81
 2013 Charger - White - 8336                       0.00
Total 2013 Dodge Charger - White - 8336   $   22,148.81
2013 Ford Fusion -1492                        13,102.09
2014 Cadillac DTS                             30,000.00
 2014 Cadillac DTS                                 0.00
Total 2014 Cadillac DTS                   $   30,000.00
2014 Dodge Charger - Black - 8565             24,755.56
 2014 Dodge Charger - 8565                         0.00
Total 2014 Dodge Charger - Black - 8565   $   24,755.56
2014 Ford Trans it Connect - 3293             49,994.59
 2014 Transit Connect 3293                         0.00
Total 2014 Ford Transit Connect - 3293    $   49,994.59
2014 Kia Sport Utility - 4843                 18,221 .29
 2014 Kia Sport 4843                               0.00
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Total 2014 Kia Sport Utility - 4843   $   18,221 .29
2014 Toyota Camry - 5451                  17,590.69
2015 Chevy Suburban                       32 ,090.35
2015 Kia Soul - 1962                           0.00
 2015 Kia Soul 1962                            0.00
Total 2015 Kia Soul -1962             $        0.00
2015 Kia Station Wagon - 3294             18,634.76
 2015 Kia Station Wagon 3294                   0.00
Total 2015 Kia Station Wagon - 3294   $   18,634.76
2015 Kia Station Wagon - 4021             18,634.76
 2015 Kia Station Wagon 4021                   0.00
Total 2015 Kia Station Wagon - 4021   $   18,634.76
2015 Kia Station Wagon 3316                    0.00
 2015 Kia Station Wagon 3316                   0.00
Total 2015 Kia Station Wagon 3316     $        0.00
2016 Cadillac Escalade - 8519             96,666.36
2016 Chevy Tahoe - 3019                   72 ,010.40
2016 Focus -3836                          25,111 .68
2016 Ford Expedition - 2235               84,540.31
 2016 Expedition 2235                      1,197.88
Total 2016 Ford Expedition - 2235     $   85,738.19
2016 Ford Expedition - 5650               82,607.13
2016 Ford Explorer - 2656                 70,819.15
2016 Ford Explorer - 2778                 63,003.48
2016 Ford Explorer - 9957                      0.33
2016 Ford Focus - 2762                    27,598.59
2016 Ford Focus - 3800                    24,026.43
2016 Ford Focus - 3836                    23,893.58
2016 Ford Focus - 3837                    23,843.82
2016 Ford Focus - 4863                    28,110.90
2016 Ford Focus - 5642                    27,546.44
2016 Ford Focus - 6540                    28,429.80
2016 Ford Transit - 1704                  39,559.22
2016 Ford Transit - 9834                  49,885.28
2016 Ford Van - 2549                      48,776.61
2016 GMC Savana - 1264                    38,919.07
2016 Kia Soul -1489                       23,964.48
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   2016 Kia Soul - 1618                                19,186.89
   2016 Kia Soul - 2842                                19,327.70
   2016 Kia Soul - 3334                                19,327.70
   2016 Kia Soul - 9191                                19,327.70
   2016 Kia Soul - 9830                                23,964.48
   2017 - Ford Transit -3841                          33,543.95
   Chevrolet Suburban                                 45,000.00
   Harrisonburg Nissan                                26,095.46
     Nissan                                                  0.00
   Total Harrisonburg Nissan                  $        26,095.46
   Homes Ford F250                                    38,108.94
     Homes Truck                                             0.00
   Total Homes Ford F250                      $       38,108.94
   Mid-Atlantic                                       27,365.19
     Accumulated Depreciation                                0.00
   Total Mid-Atlantic                         $        27,365.19
   Semoran Auto                                        19,808.53
     Semoran                                                 0.00
   Total Semoran Auto                         $        19,808.53
   Toyota Corolla                                       6,697.66
     Corolla                                                 0.00
   Total Toyota Corolla                       $         6,697.66
 Total Vehicles                               $    1,682,734.48
Total Fixed Assets                            $      326,192.95
Other Assets
 8 Bit Gamer Oasis                                     29,394.33
 Barren Ridge Road                                           0.00
 Property Security                                           0.00
 Shareholder Loan 20201005                            23,094.00
   Evan A                                            106,351 .34
   M Donavan                                         329,404.56
   Shareholder Loan-RM                               576 ,658.59
     AM EX 12005                                     130,665.82
     CC- other                                         18,724.39
     Executive (DEPOSIT PAYMENTS Toward Sl___-3_1_1_,2_0_0_.o_o_
   Total Shareholder Loan -RM                _$_ _4_1_4~,8_4_8_.8_0_
 Total Shareho lder Loan 20201005             $      873,698.70
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   Transfer of Deposits - sweep                 -327 ,771 .50
   Utility Deposits                                     0.00
 Total Other Assets                      $    575,321 .53
TOTAL ASSETS                             $ 10,389,131 .28
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       Accounts Payable                         -276,276.27
     Total Accounts Payable               -$    276,276.27
     Credit Cards
       1053 - Marriott Personal                 134,023.07
       3418 - Grow - Rich Personal                      0.00
       Barclay - 5325                                   0.00
       Barclay - 6519                                 80.64
       Barclay - 7670                                   0.00
       Barclay - 9640                           119,814 .26
       Capital One - 1443                         -3,654.78
       Capital One - 1669                             -1 8.52
       Capital One - 2413                               0.00
       Capital One - 4409                             -63.19
       Capital One - 6556                               0.00
       Capital One - 8237                               0.00
      Capital One - 8375                              -47.07
       Discover                                         0.00
       LN-AMEX-LIBRE                           2,086,570.12
       NC-AMEX-CARIDADES                          32,233.79
       NS-AM EX-SERVICES                        -520,192.24
       RM-AM EX-PERSONAL                        147,057.47
       RM-UNITED-CHASE                             2,103.81
    Total Credit Cards                   $     1,997,907.36
    Other Current Liabilities
       Federal Tax Payable                      277 ,791 .00
      Payroll Tax Payable                        -31 ,767.97
       Payroll Tax Payable 2018                 785,261 .00
      State Tax Payable                          -27,758.36
    Total Other Current Liabilities      $     1,003,525.67
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Total Current Liabilities             $   2, 725, 156. 76
Long-Term Liabilities
 102 Lake Pointe Road                               0.00
 1060 Jenny's Creek                                 0.00
 107 Granny Smith Ln                                0.00
 1080 Jenny's Creek                                 0.00
 110 Henry Avenue                                   0.00
 1137 Kingsway, Afton , VA                          0.00
 117 Cedarcrest Drive                               0.00
 13 Upland Court                                    0.00
 14 Camry - 5451                                    0.00
 14 S. Windsong Crt                                 0.00
 141 Forever Court                                  0.00
 143 Lofty Cr.                                      0.00
 15 Kimberley Street                                0.00
 17 Kimberley Street                                0.00
 19 Brooke St.                                      0.00
 19 Kimberley Street                                0.00
 19 Paige Drive                                     0.00
 19 Rose Garden Lane #101                           0.00
 19 Rose Garden Lane, #103                          0.00
 2 Paige Drive                                      0.00
 2003 Jag X-Type                                    0.00
 2004 Dodge Ram 3500 - 0831                   -2,400.00
 2006 Dodge Caravan                                 0.00
 2006 Ford F250                                     0.00
 2006 Mustang                                       0.00
 2007 Wrangler 7378                                 0.00
 2008 Dodge Van - White                             0.00
 2008 Ford F150 -White - 2918                 -2 ,395.92
 2011 Charger - White - 7386                        0.00
 2012 Honda Accord                                  0.00
 2013 Dodge Avenger 0731                            0.00
 2013 Dodge Charger - 8336                          0.00
 2013 Dodge Charger - Silver - 6336           -2,800.00
 2013 Fusion -1492                            -3,082.49
 2014 Transit 3293                                  0.00
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2016 Focus - 3800                       17,950.72
2016 Cadillac Escalade - 8519           -1,591 .89
2016 Chevrolet Tahoe - 3019             -2,767.42
2016 Expedition - 2235                  -8,4 13.17
2016 Expedition - 2778                        0.00
2016 Expedition - 5650                        0.00
2016 Explorer - 2656                          0.00
2016 Explorer - 9957                          0.00
2016 Focus - 2762                             0.00
2016 Focus - 3837                             0.00
2016 Focus - 4863                      -11 ,901 .90
2016 Focus - 5642                             0.00
2016 Focus - 6540                      -11 ,945.67
2016 Focus -3836                              0.00
2016 Savana -1264                       -1,161 .25
2016 Soul - 1489                        -1,032. 45
2016 Soul - 1618                              0.00
2016 Soul - 2842                              0.00
2016 Soul - 3334                              0.00
2016 Soul - 9191                              0.00
2016 Soul - 9830                          -770.17
2016 Transit - 1704                           0.00
2016 Transit - 2549                           0.00
2016 Transit - 9834                           0.00
2017 - Tran 3841                              0.00
21 Kimberley Street                           0.00
221 Overview, W'boro                          0.00
23 Brooke St.                                 0.00
23 Paige Drive                                000
239 Windsor Dr                                0.00
24 Paige                                      0.00
24 Rosette Lane #102                          0.00
24 Rosette Lane #104                          0.00
24 Rosette Lane #202                          0.00
24 Rosette Lane #204                          0.00
25 Brooke St.                                 0.00
260 W indsor Drive                            0.00
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    268 Windsor Drive, Fishersville, VA              0.00
    3 Paige Dr.                                      0.00
    30 Laurel Wood Drive                             0.00
    312 Evershire                                    0.00
    317 Overview                                     0.00
    33 S. Windsong, Fishersville, VA                 0.00
    331 Windsor Drive                                0.00
    332 Overview Street                              0.00
    37 S. Windsong, Fishersville, VA                 0.00
    50 Spring Ridge                                  0.00
    659 Claremont Ave. , H'burg, VA                  0.00
    70 Spring Ridge                                  0.00
    8 Gable's 201 12A                                0.00
    8 Gable's 202 • 12B                              0.00
    8 Gable's 203 - 120                              0.00
    8 Gable's 20412C                                 0.00
    8 Gables - G6                                    0.00
    8 Gables - G7                                    0.00
    8 Spring Ridge                                   000
    80 Spring Ridge, Fairfiled, VA                   0.00
    84 Lofty Cr.                                     0.00
    968 Jenny's Creek                                0.00
    984 Jenny's Creek                                0.00
    Bobcat 5650                                 18,239.95
    Chevrolet Suburban                               0.00
    Delage - Copiers                            42,875.75
    Kabbage, Inc.                                    0.00
    Kawasaki - Teryx ATV                         8,722.84
    Mill Place Complex                               0.00
    Mortgage Payable                             5,632.95
    Notes Payable                                    0.00
   OL-19 Note                                   14,013.25
   Vehicle Loan Payable                        200,762 .02
 Total Long-Term Liabilities              $    257,935.15
Total Liabilities                         $   2,983,091.91
Equity
  Homes By Nexus                                      0.00
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        Opening Balance Equity                                  10,071.11
         Retained Earnings                                    7,395,968.26
         Net Income
       Total Equity                                     $     7,406,039.37
     TOTAL LIABILITIES AND EQIJITY                      $ 10,389,131 .28




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